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                                                            11/3/2020

                                                           DRANX TOUR 2
                                                            NICHOLSON



                                                              X
                                                              X
                                                              X
                                                               X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                               X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X
                                                              X



NOTE: STRAPS NEED TO BE MORE SECURE ON MAIL, CAUSE BUNDLES
TO COME APART.
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                                                                          11/3/2020




                            MID-ATLANTIC
SANDRA NICHOLSON

    SDO                                    910 223-3646




   X                                       ALL AREAS ARE CKECKED
    X
    X

    X
                                           AREAS SEARCHED FOR BALLOTS
    X

    X

    X                                         NO MAIL IN TRAILER
   X                                       APC'S IN TRAILER ON SHORT DOCK
    X

   X

    X
                                             MAIL IN AREA
    X
                                           MAIL IN AREA/DISPOSE OF
    X

    X
